UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In re:
                                            Case No. 19-20905
THE DIOCESE OF ROCHESTER,
                                            Chapter 11
                             Debtor.


      OFFICIAL COMMITTEE OF UNSECURED CREDITORS’ OBJECTION
    TO THE CONTINENTAL INSURANCE COMPANY’S MOTION FOR ENTRY
   OF AN ORDER (I) APPROVING DISCLOSURE STATEMENT IN SUPPORT OF
        CONTINENTAL INSURANCE COMPANY’S CHAPTER 11 PLAN OF
   REORGANIZATION FOR THE DIOCESE OF ROCHESTER, (II) APPROVING
  SOLICITATION PROCEDURES FOR CONTINENTAL INSURANCE COMPANY’S
       PLAN OF REORGANIZATION FOR THE DIOCESE OF ROCHESTER,
        (III) APPROVING BALLOTS AND ESTABLISHING PROCEDURES
      FOR VOTING ON COMPETING PLANS, (IV) APPROVING THE FORM,
  MANNER, AND SCOPE OF NOTICE FOR THE CONFIRMATION HEARING, AND
                      (V) GRANTING RELATED RELIEF




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          The Official Committee of Unsecured Creditors (the “Committee”) of The Diocese of

Rochester (the “Debtor” or “Diocese”), by and through its undersigned counsel, hereby submits

its objection (the “Objection”) to The Continental Insurance Company’s Motion for Entry of an

Order (I) Approving Disclosure Statement in Support of Continental Insurance Company’s

Chapter 11 Plan of Reorganization for the Diocese of Rochester, (II) Approving Solicitation

Procedures for Continental Insurance Company’s Plan of Reorganization for the Diocese of

Rochester, (III) Approving Ballots and Establishing Procedures for Voting on Competing Plans,

(IV) Approving the Form, Manner, and Scope of Notice for the Confirmation Hearing, and (V)

Granting Related Relief (the “CNA DS Motion”) seeking approval of the Disclosure Statement

in Support of Continental Insurance Company’s Chapter 11 Plan of Reorganization for the

Diocese of Rochester [Docket No. 2247] (the “CNA Disclosure Statement”) and approving the

solicitation procedures relating to the Continental Insurance Company’s Corrected First

Amended Plan of Reorganization for the Diocese of Rochester [Docket No. 2254] (the “CNA

Plan”).1 In support of its Objection, the Committee respectfully states as follows:

                                          Preliminary Statement

          1.        Continental seeks to limit its liability to the Diocese and survivors through the

CNA Plan by (a) accepting settlements negotiated by the Committee with the Diocese and other

insurers and (b) adding an additional $75 million (the “CNA Cash Contribution”), which is a

drastic discount of the amount CNA should pay under the insurance policies it issued to the

Diocese. Continental, despite sufficient limits under its policies, attempts to settle its liability for

less than half of the per-claim amounts paid by the Diocese’s other insurers. Continental seeks

to pay only $75 million, but to even match the average per-claim payments of the other settling

1
  Capitalized terms used in this Objection are as defined in the CNA DS Motion or the CNA Disclosure Statement,
as applicable.



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insurers, the London Market Insurers and Interstate, Continental would have to contribute over

$170 million. 2 Notably, reasonable jury verdict values on even ten percent of Continental’s

over 300 claims would easily exceed this $170 million amount. Continental’s steeply-discounted

settlement proposal is made all the worse by the fact that, because of its wrongful denial of

coverage for the vast majority of the over 300 claims alleging abuse during the Continental

policy period, Continental’s combined potential liability for coverage and bad-faith vastly

exceeds that of LMI and Interstate.

           2.       Continental began this case by wholesale denying approximately 270 claims.

This move is highly unusual, and is in all likelihood unprecedented in a Diocesan chapter 11

case. Continental has continually refused to live up to its obligations under its policies. It’s

efforts to avoid liability continue with its effort to confirm a self-interested plan that is doomed

to fail.

           3.       Two fundamental flaws bar the Court from approving the CNA Disclosure

Statement.

           4.       First, Continental Insurance Company (“Continental” or “CNA”), as an insurer

of the Debtor, is not a party in interest within the meaning of section 1121 of the Bankruptcy

Code that is allowed to file and solicit approval of a plan. Therefore, CNA lacks standing to file

and seek confirmation of a plan of reorganization for the Debtor. Continental should not be

permitted to solicit a plan that, as a matter of law, the Bankruptcy Court cannot confirm.


2
 The Debtor’s other principal insurers, LMI and Interstate insure approximately 173 sexual abuse claims (consisting
of 159 timely and 14 late-filed claims). The average per-claim settlement based on those insurers’ $69,500,000
settlement payment yields an average per-claim payment of $401,734. Importantly, however, the LMI and Interstate
policies are subject to a $75,000 per occurrence self-insured retention (“SIR”), a feature the Continental policies do
not have. The SIR needs to be satisfied before the LMI/Interstate policies will pay any amounts under those policies.
Thus, using a conservative estimate of one $75,000 per occurrence applying to each of the 173 LMI/Interstate sexual
abuse claims, results in an average per-claim amount of $476,734. When that amount is then applied to each of the
360 sexual abuse claims alleging abuse during the Continental period, it results in approximately $171.6 million. In
contrast, Continental seeks to resolve its exposure for $75 million, or approximately $208,000 per claim.



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          5.        Standing cannot be based on a mere hypothetical impact on Continental’s rights

and interests. Accordingly, to have standing to propose its own plan, Continental must show that

any plan that could be proposed by the Debtor and Committee would necessarily directly impact

Continental’s rights and interests, and thus it is necessary for Continental to propose its own plan

to prevent such a direct impact. Continental has not and cannot make such a showing.

Bankruptcy courts have confirmed insurance-neutral plans for years, demonstrating that the

Debtor and Committee in this case can – and did – propose a plan that does not directly impact

Continental’s rights and interests. Thus, Continental’s efforts are more appropriately directed at

challenging aspects of the Joint Plan that Continental contends are non-neutral, rather than

proposing its own plan—a move that runs counter to a long history of bankruptcy plans proposed

by actual parties in interest adequately protecting an insurer’s rights and interests. Continental

should not be allowed to end-run the Bankruptcy Code’s standing requirements to file a self-

serving plan that underfunds Continental’s obligations to the Debtor and its victims under

insurance policies issued by Continental.

          6.        As Continental lacks standing to file a plan, the CNA Plan cannot be confirmed as

a matter of law.

          7.        Second, even if the Court could consider it, the CNA Disclosure Statement fails to

make adequate disclosure, as it fails to disclose the extent of Continental’s potential exposure for

the claims of survivors who filed a sexual abuse claim against the Diocese (“Sexual Abuse

Claimants”) and the Diocese’s likelihood of success in its insurance coverage litigation against

Continental. Without such information, the Sexual Abuse Claimants and other creditors cannot




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assess whether the amount being offered by Continental through the CNA Plan to settle Sexual

Abuse Claims is reasonable.3

                                                 OBJECTION

I.        CONTINENTAL LACKS STANDING TO CONFIRM
          A PLAN OF REORGANIZATION FOR THE DIOCESE

          A.        Continental is Not A “Party In Interest” Entitled to File A Plan

          8.        To be a party in interest for purposes of section 1121(c), the party must have “a

sufficient interest in the outcome of the case that would require representation, or a pecuniary

interest that will be directly affected by the case.”4 The same party in interest standard applies

under section 1121(c).5

          9.        When interpreting the phrase “party in interest,” courts are governed by the

Bankruptcy Code’s purpose.6 It is well-established in this Circuit that chapter 11’s nature and

purpose, while conferring section 1109(b) a broad scope, nonetheless mandate deference to

jurisdictional and prudential limitations on standing:

                    [I]t is important that a bankruptcy court is not too facile in granting
                    applications for standing. Overly lenient standards may potentially
                    overburden the reorganization process by allowing numerous
                    parties to interject themselves into the case on every issue, thereby
                    thwarting the goal of a speedy and efficient reorganization….
                    Granting peripheral parties status as parties in interest thwarts the

3
  Although the Committee strongly believes that CNA has no standing as a matter of law to file a plan, in the event
the Court rules otherwise, the Committee reserves its rights to supplement this Objection. The Committee has had
productive discussions with the Diocese and CNA, and is optimistic that consensual streamlined solicitation
procedures can be agreed upon.
4
  In re Innkeepers USA Trust, 448 B.R. 131, 141 (Bankr. S.D.N.Y. 2011); see, e.g., Church Mut. Ins. Co. v. Am.
Home Assur. Co. (In re Heating Oil Partners LP), 422 Fed. Appx. 15, 17 (2d Cir. 2011) (noting that whether a party
has a pecuniary interest directly affected by the bankruptcy proceeding can be a consideration in determining
whether the party is a party in interest); In re Stone Barn Manhattan LLC, 405 B.R. 68, 74 (Bankr. S.D.N.Y. 2009).
5
  See, e.g., In re El Comandante Mgmt. Co., LLC, 359 B.R. 410, 417 (Bankr. D. P.R. 2006) (“The concept of ‘party
in interest’ under sections 1109(b) and 1121(c) are the same.”) (citing Collier’s); In re Cape Quarry, LLC, 2020
Bankr. LEXIS 3232, *18 n.5 (Bankr. E.D. La. Nov. 16, 2020) (same; citing El Comandante).
6
 Comcoach Corp., 698 F.2d 571, 573 (2d. Cir. 1983); Southern Blvd., Inc. v. Martin Paint Stores (In re Martin
Paint Stores), 207 B.R. 57, 61 (S.D.N.Y. 1997).



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                    traditional purpose of bankruptcy laws which is to provide
                    reasonably expeditious rehabilitation of financially distressed
                    debtors with a consequent distribution to creditors who have acted
                    diligently.7

           10.      The Second Circuit has further held that, in addition to statutory standing

requirements, constitutional requirements of standing under Article III impose limitations on

bankruptcy courts.8

           11.      Article III standing exists only when the litigant has “made out a ‘case or

controversy’ between himself and the defendant within the meaning of Art. III.”9 “[T]he standing

question is whether the plaintiff has ‘alleged such a personal stake in the outcome of the

controversy’ as to warrant his invocation of federal-court jurisdiction and to justify exercise of

the court’s remedial powers on his behalf.”10 Prudential standing demands that the plaintiff

“must assert his own legal rights and interests, and cannot rest his claim to relief on the legal

rights or interests of third parties.”11

           12.      Bankruptcy courts consistently limit insurers’ standing as parties in interest in

bankruptcy cases. Continental, whose sole role in this case is as the Diocese’s insurer, therefore



7
  Krys v. Official Comm. of Unsecured Creditors (In re Refco Inc.), 505 F.3d 109, 118-19 (2d Cir. 2007) (quoting In
re Ionosphere Clubs, Inc., 101 B.R. 844, 850-51 (Bankr. S.D.N.Y. 1989) (internal citations and quotation marks
omitted)); see also Kane v. Johns-Manville Corp. (In re Johns-Manville Corp.), 843 F.2d 636, 644 (2d Cir. 1988)
(“The prudential concerns limiting third-party standing are particularly relevant in the bankruptcy context.
Bankruptcy proceedings regularly involve numerous parties, each of whom might find it personally expedient to
assert the rights of another party even though that other party is present in the proceedings and is capable of
representing himself. Third-party standing is of special concern in the bankruptcy context where, as here, one
constituency before the court seeks to disturb a plan of reorganization based on the rights of third parties who
apparently favor the plan.”).
8
 Kane, 843 F.2d at 644; see also In re Pointer, 952 F.2d 82 (5th Cir. 1992) (plaintiff must always have suffered a
distinct and palpable injury that is likely to be redressed if the requested relief is granted).
9
    Warth v. Seldin, 422 U.S. 490, 498 (1975) (emphasis added).
10
  Id. at 498-99 (internal citations omitted); accord Singleton v. Wulff, 428 U.S. 106, 113 (1976) (the first question in
the standing inquiry is “whether the plaintiff-respondents allege ‘injury in fact,’ that is, a sufficiently concrete
interest in the outcome of their suit to make it a case or controversy subject to a federal court’s Art. III jurisdiction”).
11
     Warth, 422 U.S. at 499.



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is not a “party in interest.” Further, Continental’s alleged administrative expense claim does not

bestow on it standing that it otherwise lacks.

                     1.        Continental, as the Debtor’s Insurer,
                               Lacks Standing to File and Seek Confirmation of a Plan

            13.      Courts in the Second Circuit exclude from the scope of “party in interest”

standing, parties, like insurers, who lack direct involvement in the debtor/creditor relationships

that chapter 11 was designed to administer.12

            14.      Based on these principles, reported decisions on an insurer’s standing to be heard

on bankruptcy matters uniformly limit such standing solely to issues that have a direct impact on

the insurer’s own legal rights and obligations, not those of the insured or other third parties

alone. In In re Quigley Co.,13 for example, the court addressed insurer standing to object to a

chapter 11 plan. The bankruptcy court had previously held that insurers could raise the issue of

whether anti-assignment provisions in insurance policies would provide a defense to coverage

under the policies if they were assigned to a trust without the affected insurers’ consent. The

court concluded that while the insurers could object to trust procedures on the grounds that they

implicated rights and objections under the insurance policies, the insurers lacked standing to

object to the plan based on how it would affect the rights of third parties, even if valid grounds

to defeat confirmation would not otherwise be raised: “Issues relating to classification,

treatment, solicitation and voting come immediately to mind. These are ‘creditor’ issues that may

be raised by the affected creditors, but not by non-creditors, such as the Insurers.”14




12
   See Innkeepers, 448 B.R. at 144 (ruling that creditors must have a direct relationship and privity with the debtor
(regardless of economic interest in the proceedings) to be a “party in interest”).
13
     In re Quigley Co., 391 B.R. 695 (Bankr. S.D.N.Y. 2008).
14
     Id. at 706 (citations omitted).



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            15.     In a recent decision in the Diocese of Camden,15 Judge Poslusny similarly limited

the insurers’ standing to challenge plan confirmation. Stating that standing would be limited to

“the issues which threaten their legally protected interests,”16 the court determined that the

insurers had standing to object to the specific issues of assignment of the policies to the tort

claimants’ trust, good faith, and the structure of the trust. However, the court found that the

insurers had not demonstrated that they had any legally protected interest related to the proposed

injunction and releases under the plan or the solicitation and voting procedures of the plan.

Relying on Quigley, the court reasoned:

                    The injunction would not bar any claims the Insurers may have
                    against the released parties, and therefore cannot impact the legally
                    protected interests of the Insurers. As noted, a party cannot rest its
                    claim on the legal rights or interests of third parties. … The
                    Insurers are not voting creditors, and their claims are not impaired
                    and therefore they have no legally protected interest in the
                    classification, treatment, or solicitation of other creditors, nor do
                    they have any interest in whether other creditors are barred from
                    bringing claims against the Debtor in the future.17

            16.     Like Quigley, In re C.P. Hall, Co.18 involved asbestos claims. As of the

bankruptcy filing, the debtor alleged that it had $10 million remaining in insurance coverage

from its primary insurer and $6 million in coverage under an excess policy. The debtor and its

primary carrier sought court approval for a settlement for approximately $4 million. The excess

insurer objected to the settlement on the grounds that the bankrupt insured should have litigated

the coverage action against the primary carrier to judgment with the hope of securing the entire

$10 million in coverage. By failing to do so, the excess carrier argued, the settlement increased



15
     In re Diocese of Camden, 2022 Bankr. LEXIS 2244 (Bankr. D.N.J. Aug. 12, 2022).
16
     Id. *18.
17
     Id. at *19.
18
     In re C.P. Hall, Co., 750 F.3d 659 (7th Cir. 2014).



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the likelihood that the excess carrier would be forced to honor its obligations under the excess

policy.

            17.     The Bankruptcy Court refused to consider the excess insurer’s objection on the

grounds that it lacked standing to object to the settlement. The District Court affirmed the

Bankruptcy Court’s ruling and held that the excess carrier did not have a pecuniary interest that

would be directly and adversely affected by the settlement. The excess carrier appealed the

District Court’s decision to the Seventh Circuit. The excess insurer complained that the

settlement posed an imminent threat to its financial assets. The Seventh Circuit characterized

those financial concerns as “probabilistic” insofar as the excess insurer could not establish, with

certainty, that rejection of the settlement would benefit the excess insurer.19

            18.     The Seventh Circuit affirmed the District Court and held that, notwithstanding the

breadth of section 1109(b), the excess insurer could not object to the settlement. The Seventh

Circuit reasoned that to qualify as a party in interest with standing to appear in the bankruptcy

case, the party must have a legally recognized interest in the debtor’s assets.20 Because the

excess insurer was neither a creditor nor the debtor, the Seventh Circuit concluded that the

excess insurer was not a “party in interest” under section 1109(b) of the Bankruptcy Code and

hence lacked standing to object to the settlement.21 Rather, the excess carrier was “just a firm

that may suffer collateral damage from a ruling in a bankruptcy proceeding.”

            19.     Here, it is even clearer that Continental lacks standings because Continental

denied coverage entirely for at least 270 of the underlying claims brought against the Debtor.22


19
     Id. at 661.
20
     Id.
21
     Id.
22
  Continental has regularly referenced its wide-spread denials of coverage to this Court. See, e.g., CNA’s Brief in
Support of Joinder to the Debtor’s Motion to Approve Proposed Insurance Settlements to Fund Survivor


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In doing so, Continental rejected its obligations under the policies and cannot now purport to use

the same coverage obligations it denied to confer it standing as a party in interest.23 Continental

cannot deny coverage of the survivors’ claims while at the same time seek to benefit from the

Debtor’s bankruptcy by filing its own self-serving, self-protective plan to limit its potentially

massive liability to the Sexual Abuse Claimants based on an aggressive but legally unfounded

coverage position.24

          20.       Insurers are not parties-in-interest to object to plans except related to a very

limited subset of issues. There is no legal support for Continental’s position that it has standing

as a party-in-interest to file and seek confirmation of a plan.

          21.       Even if Continental had standing to object to the plan proposed by the Debtor and

the Committee, that is a far cry from having standing to propose its own plan, as it has done here.

In order to have standing, Continental must show there will otherwise be a direct impact on the

insurer’s own legal rights and obligations. But, in the context of proposing its own plan, that

means that Continental has to show that any proposed plan by the Debtor and the Committee

will necessarily have a direct impact on Continental’s own legal rights and interests. Given the


Compensation Trust (Dkt. No. 1542) at 6 (“CNA has denied coverage for many claims, but has agreed to investigate
or participate in the defense of the Diocese in certain claims and lawsuits subject to a full reservation of rights.”
(emphasis added)). Under New York law, an insurer that denies coverage “forfeit[s] its right to control the
underlying litigation.” Liberty Mutual Fire Ins. Co. v. Hamilton Ins. Co., 356 F. Supp. 3d 326, 336–37 (S.D.N.Y.
2018) (internal citations and quotations omitted). Accordingly, Continental’s belated November 15, 2022 offer to
provide the Diocese with a defense years after the initial tender of the claims does not “cure” Continental’s prior
breach. The attempt to cure is, however, an admission of the invalidity of CNA’s coverage position.
23
  Similarly, in In re Comcoach Corp., 698 F.2d 571, 573 (2d Cir. 1983), the mortgage lender to the debtor’s
landlord was not a “party in interest” entitled to file a motion for relief from the automatic stay to foreclose on the
real property. The Second Circuit reasoned that the term “party in interest” for purposes of section 362 should be
construed in relation to the purpose of the Bankruptcy Code of converting estate assets to cash and distributing the
cash to creditors and that, since the lender was not a beneficiary of this purpose, it had no business intervening in the
case.
24
  While certain courts have granted insurance companies standing to object to plans in the mass tort context, those
cases limit the insurer’s involvement to issues specific to the insurer’s rights and obligations. See In re Quigley
Company, Inc., 391 B.R. 695 (Bankr. S.D.N.Y. 2008). Permitting Continental to file a plan, however, would
effectively grant Continental standing on all confirmation issues even those that do not directly affect Continental.



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numerous insurance neutral bankruptcy plans that have been confirmed in the past, Continental cannot

make such a showing.

                    2.       Continental’s Alleged Administrative Claim
                             Does Not Remedy Its Lack of Standing

          22.       Further, Continental’s purported administrative claim does not create standing.

Continental asserts that it has an administrative claim based on its prior non-bankruptcy court

approved agreement with the Debtor to settle Continental’s liability to the Debtor through the

buyback of its policies.25

          23.       Continental has no legitimate basis for an administrative claim particularly as

Continental has superseded the terms of its proposed settlement with the Diocese by filing the

CNA Plan itself with new proposed settlement terms. Continental argues that its plan

“constitute[s] a settlement offer the survivors can choose to accept if they wish,” but Continental

is reserving its rights to enforce its settlement agreement with the Diocese.26 In other words,

Continental claims it has a binding contract with the Diocese for the buyback of its policies but it

is not a repudiation of that contract to make a different offer for the sale of those same policies.

Such a proposal is contrary to contract fundamentals; a party cannot sell the same thing to

different parties. Continental cannot have it both ways. It cannot assert an administrative claim

for a settlement that it has repudiated by filing the CNA Plan and simultaneously claim that the

settlement it is repudiating gives it standing to file the CNA Plan itself.

          24.       In addition, in the Diocese of Rockville Centre bankruptcy, Chief Judge Glenn

made clear his view that the alleged breach of a non-approved settlement agreement between the



25
 See Application for Allowance and Payment of Administrative Expense Priority Claims for Debtor’s Breach of
Continental Settlement Agreement [Docket 2314] (the “CNA Application”).
26
  Continental’s Response to the Committee’s Request Regarding Debtor’s Rule 9019 Motion (“Continental
Letter”), Docket No. 2196.



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Debtor and its insurance companies would not give rise to a viable administrative claim against

the estate:

                    THE COURT: If the insurers think they're going to get an administrative
                    claim, because you've reached a settlement that isn't approved by the
                    Court, forget it.
                    …

                    THE COURT: I'm just telling you, if this case survives, and there's a
                    settlement that comes on for approval, and it's not approved, you're not
                    getting into[sic] approved. No one should have the expectation, no
                    insurer should have an expectation, because you've negotiated an
                    agreement with the Diocese, that is later rejected by this Court, that
                    you're sometime, somehow, going to have an administrative claim. Get it
                    clear, it's not going to happen.

                    [INSURER COUNSEL]: I understand, Your Honor. My point on what
                    was said about Camden and Rochester, it wasn't the settlement
                    agreement the Diocese entering into a settlement agreement that caused
                    an admin claim; it was the Diocese'[s] later conduct in repudiating the
                    settlement agreements that caused –

                    THE COURT: There isn't going to be a repudiation of an agreement that
                    isn't approved by the Court. You understand that clearly?27

           25.      However, even if Continental had an actual administrative claim, that claim

would not confer standing for Continental to file a plan. The existence of an administrative

expense claim alone does not confer standing when it is otherwise lacking.28 For example, in

Delta Underground Storage, the bankruptcy court held that, despite holding an administrative

claim, the debtor’s insurance company lacked standing to object to a proposed settlement by the

debtor that, inter alia, provided for the debtor’s substitution as plaintiff in an adversary

proceeding against the insurer. The court reasoned that the insurance company’s rights and

obligations under the policy were unaffected by the settlement and would be determined in the

context of the adversary proceeding and, moreover, that the existence of an administrative

27
  In re The Roman Catholic Diocese of Rockville Centre, Case No. 20-12345 (S.D.N.Y.), Sept. 26, 2023 Hearing
Transcript, at p. 28 2-5; 10-25, p.29 1-2. A copy of relevant portions of the hearing transcript are attached as
exhibit A hereto.
28
     See In re Delta Underground Storage Co., 165 B.R. 596, 598-599 (Bankr. S.D. Miss. 1994).



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expense claim – also not impacted directly by the settlement - does not automatically confer

standing for all purposes.29

           26.      Here too, Continental’s alleged administrative expense claim does not transform it

into a party-in-interest with the general standing conferred upon creditors in bankruptcy cases.

           B.       The CNA Plan Cannot Be Confirmed
                    Because It Is Not Filed in Good Faith

           27.      A plan must be proposed in good faith to be confirmable. 11 U.S.C. § 1129(a)(3).

To be proposed in “good faith” means the plan must achieve a result consistent with the

objectives and purposes of the Bankruptcy Code.30 The court assesses good faith in proposing a

plan of reorganization by looking at the totality of the circumstances surrounding the plan.31

           28.      Continental, by the CNA Plan, proposes a unilateral and unacceptable settlement

that offers insufficient compensation to the Sexual Abuse Claimants relative to the value of their

claims.32

           29.      The law of the Second Circuit is clear that any plan such as Continental’s, one

that includes non-consensual releases of third parties such as Continental, cannot be approved

unless it receives overwhelming support of the survivors. Continental knows that it has no

realistic possibility of obtaining overwhelming survivor support for its non-negotiated, non-

consensual insurance plan that materially reduces the amount that Continental may otherwise be

required to pay on account of sexual abuse claims.




29
     Id.
30
     In re Madison Hotel Assoc., 749 F.2d 410, 424-425 (7th Cir. 1984).
31
     Id.
32
  Kane v. Johns-Manville Corp., 843 F.2d 636, 649 (2d Cir. 1988) (plan must be proposed with “honesty and good
intentions”); Stolrow v. Stolrow’s, Inc. (In re Stolrow’s Inc.), 84 B.R. 167, 172 (B.A.P. 9th Cir. 1988) (plan
proponent must have exhibited “a fundamental fairness in dealing with one’s creditors”).



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           30.      Continental has no basis to file a plan except to continue its campaign of

misleading the Debtor, the Sexual Abuse Claimants and delaying what is supposed to be the

prompt, fair, and equitable payment of hundreds of sexual abuse claims. Accordingly, the CNA

Plan is misleading and not filed in good faith.

II.        THE CNA DISCLOSURE STATEMENT SHOULD NOT BE APPROVED
           BECAUSE IT DOES NOT CONTAIN ADEQUATE INFORMATION
           AS REQUIRED BY SECTION 1125 OF THE BANKRUPTCY CODE

           31.      The proposed CNA Disclosure Statement does not contain sufficient information

for creditors, including Sexual Abuse Claimants, to make an informed decision whether to accept

or reject the Plan, and omits key information ne.cessary for the Sexual Abuse Claimants to

determine whether to accept or reject the CNA Plan. If the Bankruptcy Court permits the CNA

Plan to go forward, it should not approve the CNA Disclosure Statement. Continental must be

required to amend the CNA Disclosure Statement to address this misleading and critical flaw.

           A.       Applicable Legal Standard

           32.      Section 1125(b) of the Code requires that a disclosure statement contain

“adequate information.” “Adequate information” is defined as “information of a kind, and in

sufficient detail . . . [to enable] a hypothetical investor of the relevant class to make an informed

judgment about the plan.”33

           33.      The supporting information in a disclosure statement must be factually based, and

not based merely upon the plan proponent’s beliefs and opinions; the sources and methodology

utilized by the plan proponent must therefore be disclosed.34



33
  11 U.S.C. § 1125(a); see also In re Unichem Corp., 72 B.R. 95, 97 (Bankr. N.D. Ill. 1987); In re Malek, 35 B.R.
443, 443 (Bankr. E.D. Mich. 1983) (citing numerous factors to determine whether adequate information has been
provided). This standard is purposefully malleable “so as to permit a case-by-case determination based on the
prevailing facts and circumstances.” In re Cardinal Congregate I, 121 B.R. 760, 765 (Bankr. S.D. Ohio 1990).
34
     See In re Egan, 33 B.R. 672 (Bankr. N.D. Ill. 1983).



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           34.      One-sided disclosure of information relating to claims is not sufficient, and

creditors need to be provided with information adequate to determine the value of key claims at

issue. The Court in O.P. Inv. Grp. held that in describing potential alternative treatment of a

bank’s claim the debtor was required to “state the dollar amounts of the Bank's bifurcated

claim.”35 The Court reasoned that neither the proposed disclosure statement nor plan “appears to

state what is the value of the Bank's collateral, from which the amount of the Bank's ‘Secured

Claim’ … can be determined.”36 The court found the proposed disclosure “incomplete, and

unduly opaque to all creditor-readers” and required the debtor to provide more specificity as to

value.37

           35.      As Continental is effectively proposing a settlement, its disclosure statement must

at least meet the standards of disclosure under Bankruptcy Rule 901938 which requires a

determination of “the probabilities of ultimate success should the claim be litigated.”39

           36.      This includes making an “educated estimate of the complexity, expense, and

likely duration of . . . litigation, the possible difficulties of collecting on any judgment which

might be obtained, and all other factors relevant to a full and fair assessment of the wisdom of

the proposed compromise. Basic to this process in every instance, of course, is the need to

compare the terms of the compromise with the likely rewards of litigation.”40




35
     See In re O.P. Inv. Grp., LLC, No. 21-40722, 2021 Bankr. LEXIS 1217, at *3-4 (Bankr. E.D. Mich. May 4, 2021).
36
     Id.
37
     Id.
38
   “A bankruptcy court may approve settlements under Bankruptcy Rule 9019 or as part of a debtor's plan. The
standards for approving settlements under Rule 9019 or as part of a plan are the same.” In re Woodbridge Grp. of
Cos., LLC, 592 B.R. 761, 772 (Bankr. D. Del. 2018).
39
     In re Adelphia Communs. Corp., 327 B.R. 143, 158-59 (Bankr. S.D.N.Y. 2005).
40
     Id. (citing to Protective Comm. for Indep. Stockholders of TMT Trailer Ferry v. Anderson, 390 U.S. 414 (1968)).



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           37.      Moreover, to make an informed decision of the merits of a settlement, “how it

affects the parties in interest or the case generally,” there must be full disclosure of the settlement

terms. “Partial disclosure is tantamount to no disclosure at all and is a breach of the spirit and

intent of Rules 9019 and 2002.”41 While Continental may have disclosed the terms of the

settlement it proposes, it fails to make disclosure of information essential to Sexual Abuse

Claimants to evaluate that proposed settlement.

           B.       Continental Fails to Disclose That Its Coverage Exposure Risk Is Far
                    Greater Than Its Proposed Settlement.

           38.      The CNA Disclosure Statement fails to disclose that Continental is exposed to the

Diocese for potentially hundreds of millions of dollars in coverage. Instead, Continental focuses

its disclosure on the settlement of its potential liability for a mere $75 million and inaccurately

describes the risks inherent in litigation for the Diocese and the Sexual Abuse Claimants.42

           39.      This one-sided, self-serving disclosure is not adequate within the meaning of the

Bankruptcy Code as it fails to address Continental’s potential coverage obligations and risks to

Continental from litigation.

           40.      Continental insured the Diocese from 1952 through 1977. Its policies have

primary limits between $50,000 to $500,000 per occurrence43 (with amounts increasing over the

passage of time). In addition, the Diocese also purchased excess policies of $3 million per

occurrence for many of these years.44 Notably, these policies do not have aggregate limits and

are not eroded by defense costs. As an example, under Continental’s 1976 policies, there is up to


41
     In re Trout, 108 B.R. 235, 239 (Bankr. D.N.D. 1989).
42
     CNA Disclosure Statement Article XVII.
43
  As set forth in section II.B.1.a.below, a course of molestation of a single victim may result in multiple
“occurrences” over multiple policy years.
44
  See Declaration of Attorney James R. Murray Regarding Insurance Coverage [Docket No. 8] (“Murray Decl.”), ¶
10 & 9010 Motion, ¶ 17.



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$3.5 million of coverage for each occurrence, notwithstanding the cost of defense. Under the

same policies, each additional occurrence would increase available coverage by an additional

$3.5 million.

          41.       New York law provides that each act of abuse constitutes a separate occurrence.

Thus, a claim that involves ten separate acts of abuse would trigger ten covered occurrences.

Insurance coverage is not limited to a single occurrence per claim.45

          42.       Additionally, under the Continental Policies, there are no self-insured retentions.

Thus, there are claims where extremely high amounts of insurance are available. As an example,

a claim with ten occurrences in December 1976 (where there was $3.5 million of coverage per

occurrence), could, depending on the particular facts of the claim, have as much as $35 million

of available coverage if each distinct act of abuse constitutes a covered occurrence. And, even

under a conservative analysis of the “number of occurrences” issue, substantial coverage would

exist for any claim that spans multiple policy periods.46 Thus, a claim that may be “worth” $1

million would have more than enough insurance to be paid in full. Nevertheless, Continental

seeks to settle its exposure for a mere $75 million for 360 claims. Continental does not disclose

the full extent of its potential exposure and instead represents that a mere $208,333 per claim is a

reasonable settlement.




45
   See, e.g., Roman Catholic Diocese of Brooklyn v. Nat'l Union Fire Ins. Co. of Pittsburgh, Pa., 21 N.Y.3d 139,
149, 991 N.E.2d 666, 672 (2013) (concluding that a priest’s alleged sexual abuse of the same child taking place over
a six-year period constituted multiple occurrences); Nat’l Union Fire Ins. Co. of Pittsburgh, PA v. The Roman
Catholic Diocese of Brooklyn, 2017 WL 748834, at *7, 2017 N.Y. Misc. LEXIS 687 at *14 (N.Y. Sup. Ct. Feb. 27,
2017) (“[T]he incidents of abuse suffered by each of the claimants constituted multiple occurrences and there was at
least one ‘occurrence’ per claimant per policy period because the injuries suffered by each claimant were unique to
that claimant in a given policy year and caused by separate incidents.”).
46
  At a minimum, a separate occurrence is triggered by abuse that occurs under each policy period. Safeguard Ins.
Co. v. Angel Guardian Home, 946 F. Supp. 221, 231 (E.D.N.Y. 1996) (determining that number of occurrences
under liability insurance policies was equivalent to number of policy periods during which insured’s actions led to
exposure of the foster children to the sexually abusive conditions).



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                    1.       Continental Fails to Disclose that the Diocese Has a High Likelihood
                             of Success in the Insurance Litigation

          43.       While Continental speaks to the litigation risk to the Diocese and the Sexual

Abuse Claimants, it fails to address the likelihood that the Debtor or a post-confirmation

litigation trust will prevail against Continental’s alleged defenses. That is not surprising because

the Diocese and/or litigation trust has a high likelihood of success against Continental in the

insurance litigation. Rather than comprehensively analyzing the available coverage and

defenses, Continental’s one-sided disclosure speaks only to the risk that the Diocese and/or

litigation trust will not succeed.47

                    2.       Continental Does Not Disclose the Weakness of its Expected or
                             Intended Defense

          44.       Continental fails to address the weakness of its defenses in the coverage action.

For example, Continental’s “expected or intended” defense should be given little, if any, weight

and certainly does not justify the substantial discount embodied in CNA’s Plan. There is no

basis to support the contention that the Diocese intended or expected its parishioners to be

sexually abused, assaulted, or to sustain injury sufficient to defeat insurance coverage.

Moreover, the expected or intended defense has to be applied on a claim-by-claim basis. To

date, Continental has relied only on generalized averments that the defense may apply to cases

where a perpetrator abused multiple survivors.

          45.       Notably, the underlying Child Victims Act (“CVA”) claims against the Diocese

and non-debtor Diocese Entities are based in negligence—i.e., a failure to protect children—not

on an intent by the Diocese to harm children. New York law is clear that such allegations are

insured notwithstanding an insurers’ arguments that the injury was expected or intended. In RJC

Realty Holding Corp. v. Republic Franklin Insurance Co., the New York Court of Appeals held

47
     See CNA Disclosure Statement Articles I and XVII.


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that allegations of negligence in hiring or retaining an employee who commits a sexual assault

constitute an “occurrence” that is not barred by an “expected or intended” exclusion.48

          46.       The Diocese’s generalized knowledge of the risk that pedophiles could abuse

children is insufficient to establish an expected or intended defense.49

          47.       Moreover, an insurer must prove that there was, in fact, intentional conduct

committed by the insured to sustain an argument that an injury was caused by “intentional

conduct.”50 The Second Circuit, applying New York law in Johnstown, held that:

          In general, what make injuries or damages expected or intended rather than
          accidental are the knowledge and intent of the insured. It is not enough that an
          insured was warned that damages might ensue from its actions, or that, once
          warned, an insured decided to take a calculated risk and proceed as before.
          Recovery will be barred only if the insured intended the damages, or if it can be
          said that the damages were, in a broader sense, “intended” by the insured because
          the insured knew that the damages would flow directly and immediately from its
          intentional act.51

          48.       In New York, an insurer must prove that the insured subjectively intended to

cause property damage or bodily injury in order to sustain an “expected or intended” coverage
48
   2 N.Y.3d 158, 164-65 (2004); see also NYAT Operating Corp. v. GAN National Insurance Co., 46 A.D.3d 287,
287 (1st Dept. 2007) (“[B]ecause [policyholder’s] liability in the underlying action was based on its negligent hiring
and retention of the employee, not respondeat superior, the sexual assault was a covered ‘accident’ within the
meaning of the policy, and the exclusion for injuries expected or intended from the standpoint of the insured does
not apply.”) (internal citations omitted).
49
   See Union Carbide Corp. v. Affiliated FM Ins. Co., 955 N.Y.S.2d 572 (N.Y. App. Div. 2012) (holding that the
insured’s calculated risk in selling asbestos products despite its awareness of possible injuries and claims did not
trigger the exclusion); Armstrong World Indus., Inc. v. Aetna Cas. & Sur. Co., 52 Cal. Rptr. 2d 690, 723 (Cal. Ct.
App. 1996) (holding that evidence of the insured’s general knowledge of the dangers of asbestos was insufficient to
apply the exclusion).
50
  City of Johnstown, N.Y. v. Bankers Standard Insurance Co., 877 F.2d 1146 (2d Cir. 1989) (interpreting New York
law).
51
   Id. at 1150 (citations omitted, emphasis added); see also Black & Veatch Corp. v. Aspen Ins. (UK) Ltd., 882 F.3d
952, 960, 962 (10th Cir. 2018) (quoting Cont’l Cas. Co. v. Rapid–Am. Corp., 80 N.Y.2d 640, 649 (1993)) (“The
New York Court of Appeals has held that damages are accidental so long as they are ‘unexpected and
unintentional’” and New York law construes “expected or intended” coverage terms “narrowly as barring coverage
‘only when the insured intended the damages’”); Cont’l Ins. Co. v. Colangione, 484 N.Y.S.2d 929, 931 (3d Dept.
1985) (citations omitted) (“Ordinary negligence does not constitute an intention to cause damage; neither does a
calculated risk amount to an expectation of damage. To deny coverage, then, the fact finder must find that the
insured intended to cause damage.”); McGroarty v. Great Am. Ins. Co., 36 N.Y.2d 358, 363 (1975) (“Certainly one
may intend to run a red light, but not intend that the catastrophic result of collision with another car occur.
Calculated risks can result in accidents.”).



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defense.52 As such, a perpetrator’s actions cannot be imputed to a negligent insured for the

purposes of determining whether a given act was expected or intended.53 Notably, “negligence

implies an unintentional or unexpected event,” and therefore allegations of negligence

inherently do not fall within expected or intended exclusions.”54 Thus, based on the

allegations in the underlying CVA actions (which sound in negligence), binding New York law

(which requires the insured’s subjective intent to cause harm), as well as the facts adduced to

date, Continental’s’ “expected or intended” defense provides no basis for Continental’s drastic

discount of its coverage exposure.

                    3.       Continental Does Not Disclose the High Likelihood the Diocese or
                             Litigation Trust Will Prevail Over Continental’s Notice Defense

          49.       The Diocese can demonstrate the reasonableness of the timing of its notice to

Continental. Under New York law, notice delays are excusable if the insured “can demonstrate

‘that the insured either lacked knowledge of the occurrence or had a reasonable belief of

nonliability.’” 55 The Committee is unaware of any late-notice decisions involving the revival of

previously barred claims—such as the CVA claims at issue here—but there are numerous


52
   See Agoado Realty Corp. v. United Int’l Ins. Co., 95 N.Y.2d 141, 145 (2000)(“[I]n deciding whether a loss is the
result of an accident, it must be determined, from the point of view of the insured, whether the loss was unexpected,
unusual and unforeseen.” (emphasis in original)); see also Hartford Roman Catholic Diocesan Corp. v. Interstate
Fire & Cas. Co., 905 F.3d 84, 93 (2d Cir. 2018) (applying Connecticut law and distinguishing Diocese of Winona v.
Interstate Fire & Casualty Company, 89 F.3d 1386 (8th Cir. 1996), in which the Eighth Circuit applied an objective
standard in accordance with Minnesota law – noted to be an “outlier” standard).
53
  See RJC Realty Holding Corp., 2 N.Y.3d at 165 (2004) (holding that a masseur’s intention to assault a client could
not be attributed to his employer, the insured); Agoado Realty Corp., 95 N.Y.2d at 146 (2000) (“Indeed, although
the murder is, for liability purposes, intentional from the standpoint of the assailant, its cause as set forth in the
underlying complaint constitutes an accident from the standpoint of the insured, i.e., negligent security.”).
54
  See, e.g., Auto. Ins. Co. of Hartford v. Cook, 7 N.Y.3d 131, 138 (2006); see also Miller v. Cont. Ins. Co., 40
N.Y.2d 675, 677 (1976) (ruling a heroin overdose an “accident” when no evidence indicated an intent for the
injection to have fatal consequences: “‘He [may have] used bad judgment, he [may have been] reckless, [but
everything points to the fact that] he did not want to bring bereavement and sadness to his mother.’” (citations
omitted; alterations in original)).
55
  Indian Harbor Ins. Co., 972 F.Supp.2d at 64 (internal citations omitted); see also Sparacino v. Pawtucket Mut.
Ins. Co., 50 F.3d 141, 144 (2d Cir. 1995) (“[A] reasonable belief in nonliability constitutes a valid excuse for failure
of or delay in notification.”).



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analogous examples in which late notice was allowed due to the insured’s reasonable belief of

non-liability:56

               a. Insured adoption agency had reasonable belief that it would not be held liable for
                  events relating to abuse of child placed in foster home by insured, and thus,
                  insured’s delay in providing notice to insurer could be excused when—even
                  though insured had received a phone call stating that the adoptive mother’s
                  boyfriend had sexually abused the child—insured’s notes of conversation with the
                  biological mother revealed “no foreshadowing of a lawsuit or of the theories of
                  liability” that were eventually alleged in case regarding abusive adopted parents,
                  and the insured engaged in “active efforts” to “remedy the situation and remove
                  the children from the abusive environment with appropriate speed.” 57

               b. A policyholder provided timely notice where it notified insurers shortly after
                  former foster child filed lawsuit, even though the plaintiff did not file his lawsuit
                  until he reached the age of maturity—five years after the occurrence.58 Because
                  the policyholder paid all medical expenses of the child and the child indicated no
                  intention to sue at the time of the incident, the court affirmed the determination
                  that the policyholder provided notice “as soon as practicable” under the policy.59

               c. Insured dentist provided timely notice when—even though dentist was “aware
                  long before [patient’s] lawsuit” that the propriety of his conduct was at issue—
                  dentist had “no knowledge that any civil claim would be brought against him until
                  he was served with process by [patient]” accusing dentist of sexual abuse.60

               d. Baking equipment manufacturer also provided timely notice upon filing of lawsuit
                  based on employee of buyer catching his arm in the manufacturer’s equipment.
                  Although manufacturer learned of injury sustained by employee a few days after
                  the occurrence, buyer only asked manufacturer to check the reassembly of the




56
  Continental may point to one of the district court proceedings involving the Diocese of Rockville Centre as
evidence of some type of purported judicial support for its late-notice defense. That case, however, provides no such
support. In that action, one of the diocese’s insurers, Arrowood, sought leave to file an amended counterclaim which
added nine counterclaims, one of which involved late notice. Given the low bar needed to justify an amended
pleading, see Fed. R. Civ. P. 15(a)(2) (“The court should freely give leave when justice so requires”), the Court
determined only that allowing Arrowood to add a late-notice counterclaim would not be “futile.” Roman Cath.
Diocese of Rockville Ctr., New York v. Arrowood Indem. Co., No. 20-CV-11011 (VEC), 2022 WL 558182, at *15
(S.D.N.Y. Feb. 23, 2022). Arrowood itself later went into liquidation and that proceeding is now stayed. The
Committee is confident that this argument will be rejected if it is considered on the merits.
57
     Safeguard Ins. Co. v. Angel Guardian Home, 946 F. Supp. 221, 228 (E.D.N.Y. 1996).
58
     Merchants Mut. Ins. Co. v. Hoffman, 56 N.Y.2d 799, 801, 437 N.E.2d 1155, 1156 (1982).
59
     Id.
60
     Pub. Serv. Mut. Ins. Co. v. Goldfarb, 53 N.Y.2d 392, 397, 425 N.E.2d 810, 813 (1981).



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                    machine and did not alert manufacturer to employee’s potential claim of
                    liability.61

           50.      In each of these examples, the courts examined whether the insured had

knowledge that it was going to be held liable for the incident. The courts did not examine

whether the insured merely had knowledge that an incident had occurred. In most instances in

which the Diocese had knowledge of the abuse prior to the CVA’s passage, the Diocese gained

such knowledge after the claims had become time barred. The Diocese, therefore, reasonably

believed it would not be held liable for the incident and had no obligation to provide notice to its

insurers at that time:

           The cases excusing an insured’s failure to notify an insurer of an occurrence
           based on a good faith belief of non-liability are supported by the rationale that if
           insureds were required to notify insurers of every incident that poses even a
           remote possibility of liability, insurers would soon be swamped with notice of
           minor incidents that pose little danger of resulting even in an action by the injured
           party against the insured, let alone a claim by the insured against the insurer.62

           51.      Furthermore, even in instances in which the statute of limitations had not expired

when the Diocese learned of the abuse decades ago, the Diocese reasonably assumed non-

liability at the time because, until the 2000s, there had been only a handful of sexual abuse

lawsuits filed against any Catholic diocese, and even fewer six or seven figure payouts.63

Therefore, the Diocese had a reasonable belief that these incidents would not lead to liability for

which its insurers would have to provide coverage and Continental is unlikely to prevail on its

late-notice defense.


61
     Greater New York Mut. Ins. Co. v. I. Kalfus Co., 45 A.D.2d 574, 577, 360 N.Y.S.2d 28, 31 (1974).
62
  Safeguard Ins. Co. v. Angel Guardian Home, 946 F. Supp. 221, 227 (E.D.N.Y. 1996); see also 875 Forest Ave.
Corp. v. Aetna Cas. & Sur. Co., 37 A.D.2d 11, 13, 322 N.Y.S.2d 53, 55 (1971) (“[M]ere knowledge that an accident
has occurred does not always give rise to a duty upon the insured to report such accident to his insurer.”).
63
  See, e.g., Angel Guardian Home, 946 F. Supp. at 227 (“A reasonable belief in non-liability may stem from a belief
in immunity from suit, but it may also be supported by a reasonable, good faith belief that a claim is unlikely). See
also Master List of Settlements and Awards in Chronological Order, Bishop Accountability, available at
http://www.bishop-accountability.org/settlements/#list.



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          52.       Continental fails to address that, for its late notice defense to prevail, a court

would have to reach the conclusion that introduction of the CVA by the New York State

Legislature was a pointless exercise in legislation. While no outcome is without some risk, for

the purposes of analyzing which party has a high likelihood of success in litigating late notice,

the purpose behind the CVA cannot be ignored.

          C.        Continental Does Not Provide Adequate Information in the CNA Disclosure
                    Statement

          53.       Continental’s failure to discuss the potential weaknesses of its defenses in the

coverage action and the potential exposure that Continental faces in litigation renders its

disclosure fatally deficient. Sexual Abuse Claimants are given no basis on which to assess

whether the unsolicited and unilateral settlement proposal by Continental is reasonable in light of

Continental’s potential liability for the payment of Sexual Abuse Claimants.

          54.       Continental seeks to settle its exposure for a mere $75 million for 360 claims

(comprising 335 timely and 25 late claims). That is an average of only $208,333. The

Committee submits that Continental’s exposure is potentially hundreds of millions of dollars—in

other words, many multiples of Continental’s current offer.

          55.       Without being provided information about the possible recovery from the

litigation against Continental, no reasonable Sexual Abuse Claimant can assess the adequacy of

Continental’s unilateral settlement offer to avoid the risk of litigation for the Sexual Abuse

Claimants and for Continental.

                                               CONCLUSION

          56.       Continental lacks standing to confirm a plan of reorganization. As a result, the

CNA Disclosure Statement should not be approved because the CNA Plan is patently

unconfirmable as a matter of law. In addition, Continental has not proposed the CNA Plan in



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good faith and, thus, the CNA Plan is not confirmable on that ground as well. For these reasons,

Continental should not be permitted to solicit the CNA Plan

          57.       Even if the Court determines that Continental’s standing and good faith are issues

to be decided at confirmation, it still cannot approve the CNA Disclosure Statement. The CNA

Disclosure Statement omits any discussion of the potential risks and exposure to Continental if

the claims against it are pursued. It is intended to lead the Sexual Abuse Claimants to

unsupported and likely inaccurate conclusions about the risks and returns of accepting or

rejecting the CNA Plan. That is, the CNA Disclosure Statement does not provide adequate

information within the meaning of section 1125 for a Sexual Abuse Claimant to evaluate

Continental’s unilateral settlement proposal of a mere $75 million dollars, while Continental in

fact faces exposure to Sexual Abuse Claimants in the hundreds of millions of dollars.

          58.       The Committee therefore respectfully requests that the Court deny approval of the

CNA Disclosure Statement.

                                     RESERVATION OF RIGHTS

          59.       The Committee reserves the right to make any argument, present any facts, and

oppose any argument or evidence with respect to the CNA Disclosure Statement, including

arguments raised herein to the extent the Court deems them more properly presented as

objections to confirmation.




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          WHEREFORE, for the reasons set forth above, on evidence presented at a hearing, the

Committee respectfully requests that the Court deny the CNA Solicitation Motion and grant such

other and further relief in favor of the Committee that it deems just and proper.

Dated:      December 5, 2023                  Respectfully submitted,

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     1     UNITED STATES BANKRUPTCY COURT

     2     SOUTHERN DISTRICT OF NEW YORK

     3     Case No. 20-12345-mg

     4     - - - - - - - - - - - - - - - - - - - - - - - - - - - - x

     5     In the Matter of:

     6

     7     THE ROMAN CATHOLIC DIOCESE OF ROCKVILLE CENTRE,

     8

     9                  Debtor.

   10      - - - - - - - - - - - - - - - - - - - - - - - - - - - - x

   11                          United States Bankruptcy Court

   12                          One Bowling Green

   13                          New York, NY       10004

   14

   15                          September 26, 2023

   16                          3:00 PM

   17

   18

   19

   20

   21      B E F O R E :

   22      HON MARTIN GLENN

   23      U.S. BANKRUPTCY JUDGE

   24

   25      ECRO:    JONATHAN

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     1     HEARING re Motion to Authorize / An Order Granting Leave,

     2     Standing, and Authority to Prosecute a Cause of Action on

     3     Behalf of the Debtor and its Estate.                (Doc ## 2425,       2429,

     4     2435, 2456, 2457, 2466 to 2469, 2500, 2501, 2510, 2511,

     5     2513, 2515)

     6

     7     HEARING re Application for FRBP 2004 Examination Motion for

     8     Entry of an Order Pursuant to Bankruptcy Rule 2004

     9     Authorizing Examination of Witnesses and the Production of

   10      Documents. (Doc ## 2388 to 2390, 2400, 2461, 2475, 2485,

   11      2513, 2515)

   12

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   25      Transcribed by:        Sonya Ledanski Hyde

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   13      BY:      BRETT MOORE

   14

   15      ALSO PRESENT:

   16      TIM BURNS

   17      JESSE BAIR

   18      CORRINE BALL

   19      NATHANIEL ALLARD

   20      JOHN BERRINGER

   21      KENNEDY RHEA BODNAREK

   22      STEPHENIE LANNIGAN BROSS

   23      JOHN BUCHEIT

   24      DYLAN CASSIDY

   25      ANDREW CIRIELLO

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    1      SHARA CLAIRE CORNELL

    2      WAYNE MATTHEW COX

    3      JILLIAN DENNEHY

    4      STEPHEN DONATO

    5      THERESA DRISCOLL

    6      AREILLE FELDSHON

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   10      ADAM HOROWITZ

   11      TODD JACOBS

   12      AARON JAVIAN

   13      ANN KRAMER

   14      JUSTIN KRELL

   15      BRITTANY MITCHELL MICHAEL

   16      GEOFFREY MILLER

   17      SIOBHAIN PATRICIA MINAROVICH

   18      JAMES MOFFITT

   19      IAIN NASATIR

   20      CHRIS PERKINDS

   21      THOMAS SLOME

   22      ADAM SMITH

   23      PATRICK STONEKING

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    1      CHELSIE WARNER

    2      MATTHEW MICHAEL WEISS

    3      JACOB WORLOW

    4      GREG ZIPES

    5      UDAY GORREPATI

    6      EMILY LEVER

    7      KAREN MORIARTY

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     1     the mediation process in place.

     2                 THE COURT:     Thank you.

     3                 MR. WINSBERG:      The second point, Your Honor, is

     4     that the claims -- we believe Your Honor picked up on this -

     5     - are not right for adjudication.           There may result in

     6     multiple hypotheticals that may or may not never occur.                And

     7     just to give a couple in the chain, Your Honor, the Diocese

     8     would have to enter into a settlement with the insurers.

     9     The Diocese would have to, essentially, not do its homework

   10      or exercise its fiduciary obligation.            Your Honor, pointed

   11      out, there's no conflict of interest here that you would

   12      typically sometimes see when derivative standing is sought.

   13      And the Diocese would try to sign an agreement that's not in

   14      the best interests of the estate.

   15                  The Committee, they would assume the Committee

   16      would not accept this settlement.           And the Committee assumes

   17      that this Court would not, could not and would not approve

   18      this settlement.      And the Diocese would later repudiate the

   19      settlement in favor of another deal --

   20                  THE COURT:     Well, there's no settlements are

   21      repudiated --

   22                  MR. WINSBERG:      Right.

   23                  THE COURT:     -- until, unless the provider prove

   24      it.

   25                  MR. WINSBERG:      Your Honor, so my point being, is


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     1     there's a long line of causal --

     2                 THE COURT:     If the insurers think they're going to

     3     get an administrative claim, because you've reached a

     4     settlement that isn't approved by the Court, forget it.

     5                 MR. WINSBERG:      The administrative claims, just

     6     like Judge Poslusny has in Camden, and Judge --

     7                 THE COURT:     I don't care what --

     8                 MR. WINSBERG:      But those are for those courts to

     9     decide.

   10                  THE COURT:     I'm just telling you, if this case

   11      survives, and there's a settlement that comes on for

   12      approval, and it's not approved, you're not getting into

   13      approved.     No one should have the expectation, no insurer

   14      should have an expectation, because you've negotiated an

   15      agreement with the Diocese, that is later rejected by this

   16      Court, that you're sometime, somehow, going to have an

   17      administrative claim.        Get it clear, it's not going to

   18      happen.

   19                  MR. WINSBERG:      I understand, Your Honor.         My point

   20      on what was said about Camden and Rochester, it wasn't the

   21      settlement agreement the Diocese entering into a settlement

   22      agreement that caused an admin claim; it was the Diocese'

   23      later conduct in repudiating the settlement agreements that

   24      caused --

   25                  THE COURT:     There isn't going to be a repudiation


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     1     of an agreement that isn't approved by the Court.               You

     2     understand that clearly?

     3                 MR. WINSBERG:      I understand, Your Honor.

     4     (indiscernible) on why that should be denied, Your Honor, is

     5     that the claims -- they don't state a claim under a 349,

     6     which is the consumer protection statute.             We've covered the

     7     admin claim.     That's what they had focused on.           Your Honor's

     8     made its position clear on the admin claim --

     9                 THE COURT:     I made it clear to all the insurers.

   10                  MR. WINSBERG:      You made it clear to all the

   11      insurers, Your Honor.        What I would say here, Your Honor, is

   12      that harm is a business harm.          And the Courts are pretty

   13      clear that's the kind of harm that's not consumer protection

   14      oriented; it's the harm to the bankruptcy estate, so to

   15      speak.    And Your Honor has made it clear to all the insurers

   16      there would be no admin claim for repudiation.

   17                  So, with that, Your Honor, I'm happy to answer any

   18      questions Your Honor has.

   19                  THE COURT:     Thank you very much.        Anybody else

   20      want to be heard?       Come on up.

   21                  MR. ROTEN:     Good afternoon, Your Honor.          I'm

   22      Russell Roten.      I'm with Duane Morris.        I represent certain

   23      underwriters at Lloyd's London and certain London Market

   24      Insurers.     We refer to ourselves as the London Market

   25      Insurers, or LMI.


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     1                 We endorse and echo the arguments and comments of

     2     the Debtor and Interstate, that Your Honor just heard.                I

     3     have a few specific points that I'd like to make.               And let

     4     me start out by saying, Your Honor, we certainly understand

     5     the administrative claim issue.          I'm going to touch on that,

     6     but from a different perspective.           But first, let me make

     7     just a couple of succinct points.

     8                 First of all, as Mr. Winsberg said, Section 349 is

     9     a consumer protection statute that's not a private right of

   10      action type statute.       And we have researched the case law in

   11      New York, Your Honor, and there's no case where a Court has

   12      ever provided a claimant or a committee standing to pursue a

   13      claim under Section 349; it's never happened.

   14                  The second basis for the Committee's derivative

   15      action, Your Honor, is Section 2601 of the New York

   16      Insurance Law.      And as we pointed out in our brief, there is

   17      no private right of action under that statute.              I can give

   18      you the cases again, but they're in our brief.              And it,

   19      specifically, we've cited a case that says the New York

   20      State Superintendent of Insurance has this exclusive

   21      jurisdiction to pursue any claim under that statute.               So,

   22      the Committee has no right to go forward o either of the

   23      statutes they're going forward on.           That's my first point.

   24                  The second point I want to make, Your Honor, I had

   25      trouble understanding when I read the Committee's brief.                  It


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